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welcome to simply not visit Haiti. This Court will not lift other conditions of his release to facilitate

his international travel while out on pretrial release.

         This Court has granted Brooks considerably leeway in his conditions of release. Given the

overwhelming evidence against him, including video evidence, and text messages in which he

discussed using firearms in a "civil war," this Court sees no reason to amend Brooks' conditions

of release to allow the possession of firearms. Brooks' motion is hereby DENIED.

        IT IS SO ORDERED.



         t.f._/._s-�/1........:z:__
 Date: ___                      ◄_                                     Royce C. Lamberth
                                                                       United States District Judge




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